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 1                                                              The Honorable Robert J. Bryan
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 7
 8                            UNITED STATES DISTRICT COURT
 9                           WESTERN DISTRICT OF WASHINGTON
                                       AT TACOMA
10
11    UGOCHUKWU GOODLUCK
      NWAUZOR, FERNANDO AGUIRRE-                  Case No. 3:17-cv-05769-RJB
12
      URBINA, individually and on behalf of all
13                                                DECLARATION OF TRACEY VALERIO
      those similarly situated.
                                 Plaintiff,
14
                             v.
15
      THE GEO GROUP, INC.,
16
                                  Defendant.
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27
28   NWAUZOR et al. v. THE GEO GROUP, INC.                                III BRANCHES LAW, PLLC
     ECF CASE NO. 3-17-cv-05769-RJB                                                 Joan K. Mell
     DECLARATION OF TRACEY VALERIO                                         1019 Regents Blvd. Ste. 204
                                                                                Fircrest, WA 98466
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                                                                             joan@3brancheslaw.com
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 1         I, TRACEY VALERIO, state the following under oath subject to the penalty of perjury
 2 under the laws of the United States and the State of Washington:
 3
     1.0   I am over the age of eighteen and am competent to testify in this case. My testimony is
 4
           based upon my personal knowledge and my education, training, and experience. I am
 5
 6         presently working as an attorney for Frontier Solutions, LLC in Mexico City, Mexico.

 7         My most immediate past position was with the United States Department of Homeland
 8
           Security (“DHS”) Immigration and Customs Enforcement (“ICE”), where I was
 9
           employed from 2009 until 2018. I was the Executive Associate Director of Management
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11         and Administration from April 2015 to April 2018.          From October 2009 to October

12         2011, I was a Special Advisor to the Director. From October 2008 to October 2009, I
13
           was a Resident Legal Advisor at the U.S. Department of Justice. And from November of
14
           2005 to October of 2008, I was an Assistant United States Attorney for the United States
15
16         Department of Justice.

17 2.0     In my role with ICE, I was responsible for integration and coordination of ICE support
18         functions and customer service. I ensured alignment of the management functions to the
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           Director’s leadership strategic vision and ongoing dynamic operational requirements. I
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           managed, coordinated, and oversaw over 2,000 employees stationed nationwide arrayed
21
22         across eight departments, including: Human Resources, Chief Financial Officer, Chief

23         Information Officer, Office of Acquisitions and Office Policy. As relevant to this action,
24
           the development and implementation of ICE’s budget and all agency contracting was
25
           under my purview and supervisory responsibility.
26
27
28   NWAUZOR et al. v. THE GEO GROUP, INC.                                     III BRANCHES LAW, PLLC
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 1 3.0     In preparing my declaration, I have reviewed the relevant ICE-GEO contract, ICE
 2         PBNDS standards applicable to the Voluntary Work Program (“VWP”), the President’s
 3
           Budget request for fiscal year 2018, the DHS Budget in Brief for Fiscal Year 2018, and
 4
           the Court’s Order Dkt. No. 29, specifically the following portion that I have been asked
 5
 6         by GEO to comment on:

 7         “Section 1555(d) authorizes congressional appropriations for “payment of allowances [to
 8         detainees]...for work performed,” but payment is limited to “such rate as may be
           specified from time to time in the appropriation Act involved.” § 1555(d) (emphasis
 9         added). Under this section, Congress arguably speaks to detainee wages when Congress
10         appropriates payment of allowances to detainees for work performed, but although §
           1555(d) is still in effect, Congress has not specified any rate for detainee work since
11
           fiscal year 1979. At that time, Congress appropriated funds for “payment of allowances
12         (at a rate not in excess of $1 per day)...for work performed.” PL 95–431 (HR 12934), PL
13         95–431, Oct. 10, 1978, 92 Stat 1021 (emphasis added). At least since fiscal year 1979,
           Congress has abandoned direct appropriations payment of allowances, despite its
14         awareness of how to do so. See, e.g., Consolidated Appropriations Act, 2016, PL 114–
15         113, December 18, 2015, 129 Stat 2242, 2497.”
16 4.0     During my tenure at ICE, ICE authorized a $1.00 per day allowance that ICE paid for
17
           detainee participation in a VWP at its Service Processing Centers (“SPC”) and at its
18
           Contract Detention Facilities (“CDF”), which includes the Northwest Detention Center.
19
20 5.0     In its contracting and budget execution, ICE followed the $1 per day rate established by

21         Congress in 1979.
22 6.0     ICE used this rate in each subsequent budget cycle to set the amount ICE could expend in
23
           direct costs for detainee pay. ICE paid detainees $1.00 per day as an allowance for VWP
24
           participation. ICE did not enroll detainees in the federal competitive civil service nor
25
26         otherwise consider detainees ICE employees or SPC contractor employees. Pursuant to
27         Executive Order 11935 and DHS Management Directive 3120.2, ICE could not employ
28   NWAUZOR et al. v. THE GEO GROUP, INC.                                   III BRANCHES LAW, PLLC
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 1         persons unlawfully present in the United States. And with regard to the relationship
 2         between GEO and detainees, if ICE had considered detainees GEO employees then ICE
 3
           would have conducted suitability background checks for VWP detainee participants. ICE
 4
           did not conduct these suitability background checks on VWP detainee participants nor
 5
 6         did ICE include in its budget the additional costs for extending such background checks

 7         to VWP detainee participants because it never intended to conduct them. The costs for
 8
           these checks to ICE are at least $5,000.00 in administrative overhead. As a practical
 9
           matter, in many cases it would be impossible to even conduct these checks within the
10
11         average length of a detainee’s stay.

12 7.0     In my capacity wherein I was responsible for advising and developing the budget for the
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           Director who then advised the DHS Secretary and, in turn, the President on
14
           appropriations requests, I relied upon the Congressional rate and did not consider the
15
16         $1.00 per day rate “abandoned.” In fact, ICE consistently formulated its budget using

17         this rate throughout the budget cycles dating back to 1979 and reflected this rate in its
18         detention contracts.
19
     8.0   Detainee pay was a direct cost to ICE, meaning it was treated as a fixed unit expenditure
20
           linked to a congressional appropriation based upon the President’s Budget.
21
22 9.0     I did not make budget recommendations or projections with the expectation that this

23         $1.00 per day rate was merely a reimbursement rate to GEO.            It was not just a
24
           reimbursement rate because ICE could not expend more than $1.00 a day for detainee
25
           wages in a SPC or CDF without Congress setting a higher rate and appropriating the
26
27         funds needed to pay the higher rate. I made my budget recommendations and Congress

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 1                                   CERTIFICATE OF SERVICE
 2
            I, Joseph Fonseca, hereby certify as follows:
 3
            I am over the age of 18, a resident of Pierce County, and not a party to the above action.
 4
 5   On July 20, 2018, I electronically filed the above Declaration of Tracey Valerio, with the Clerk

 6   of the Court using the CM/ECF system and served via Email to the following:
 7   Schroeter, Goldmark & Bender                   The Law Office of R. Andrew Free
 8   Adam J. Berger, WSBA No. 20714                 Andrew Free
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     mark.emery@nortonrosefulbright.com             (206)-419-7332
22                                                  meena@meenamenter.com
23
            I certify under penalty of perjury under the laws of the State of Washington that the
24
     above information is true and correct.
25
            DATED this 20th day of July, 2018 at Fircrest, Washington.
26
27
28          Joseph Fonseca, Paralegal
29
30                                                                                    III BRANCHES LAW, PLLC
                                                                                              Joan K. Mell
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